Case 2:05-CV-02044-SHI\/|-tmp Document 18 Filed 07/18/05 Page 1 of 2 Page|D 28

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“J£'€Y§.Se§`§'r%’&wcm
RocHELLE N. PERRY, W OFTN- '
Plaintiff,
v- cv. No. 05-2044-:-1¢\

CINGULAR WIRELESS 1

Defendant.

JUDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Agreed Order And Stipulation of Dismissal
With Prejudice, docketed July 18, 2005. Each party shall bear
its own costs and attorneys’ fees.

APPROW d s

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

’_T'.J.` Q_?' ZA-b{

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DATE CLERK

MSM.GOLI.D

(By) DEPUTY CLERK

 

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This notice confirms a copy of the document docketed as number 18 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

